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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:08CR105
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
IVAN J. HICKS,                                )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s motion to show cause as to why

it has not filed a motion under Federal Rule of Criminal Procedure 35 (Filing No. 401). The

motion is supported by a brief and an index of evidence that includes the sentencing

transcript.

       The Defendant pleaded guilty under a cooperation plea agreement to Count II of the

Indictment charging him with possessing pseudoephedrine with intent to manufacture

methamphetamine. On December 29, 2008, the Defendant was sentenced to 24 months.

At sentencing, the Court lowered the sentencing guideline range from 46-57 months to 37-

46 months after determining that the minor role adjustment applied. The Court then

departed downward from the guideline range on the Defendant’s motion based on 18

U.S.C. § 3553(a)(1) (nature and circumstances of the offense and the Defendant’s

characteristics). At sentencing, in discussing self surrender prior to imposing the sentence

the Court asked the government’s attorney whether a Rule 35 motion in the next 60 days

was “anticipated.” The government’s attorney responded, “[w]e’ll try.” (Filing No. 400, at

9:8.) The instant motion is based on that statement. I note that, according to the Bureau

of Prisons website, the Defendant’s “actual or projected” release date is July 10, 2010.
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      Despite the colloquy at sentencing, the Defendant was made fully aware at his

change of plea hearing that the filing of a motion based on substantial assistance is based

solely on the government’s discretion. In fact, the plea agreement provides:

      If the United States does not file a motion to reduce the Defendant’s
      sentence for the Defendant’s cooperation, the Defendant waives the
      Defendant’s right to challenge that decision by any means, no matter how
      entitled, except upon a substantial threshold showing by the Defendant that
      any such decision was based upon an unconstitutional motive related to the
      Defendant’s race, religion, gender, or national origin, or upon an appropriate
      showing of a violation of the Defendant’s Sixth Amendment Right to Counsel.

(Filing No. 219, ¶ 4 (emphasis added).)

      The Defendant has not made the required substantial threshold showing.

Accordingly,

      IT IS ORDERED that the Defendant’s motion to show cause (Filing No. 401) is

denied.

      DATED this 8th day of February, 2010.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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